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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISANA
                              BATON ROUGE DIVISION


BRITTNEY SANDERS                                §
                                                §
                  Plaintiff                     §
                                                §
v.                                              §     Civil Action No. 3:16-cv-00233
                                                §
                                                §     Honorable Judge John W. deGravelles

PORTFOLIO RECOVERY ASSOCIATES;                  §             Article III Judge
and EXPERIAN INFORMATION                        §
SOLUTIONS, INC.                                 §     Honorable Erin Wilder-Doomes
                                                §             Magistrate Judge
                                                §
                                                §
                  Defendants                    §

       JOINT STIPULATION OF DISMISSAL WITH PREJUDICE BETWEEN
                    PLAINTIFF AND ALL DEFENDANTS


      Plaintiff and all Defendants stipulate, pursuant to FED. R. CIV. P. 41(a)(1)(A)(ii), to

dismiss this action with prejudice.

      There are no longer any issues in this matter between Plaintiff and Defendants to be

determined by this Court. The Parties hereby stipulates that all claims or causes of action

against all Defendants which were or could have been the subject matter of this lawsuit are

hereby dismissed with prejudice, with all costs and attorney fees to be paid by the party

incurring same.

      Date Signed this the 31st day of March, 2017.


Respectfully submitted,

/s/ Jonathan Raburn
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Counsel for Defendant Portfolio Recovery Associates, LLC
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                               CERTIFICATE OF SERVICE

      I hereby certify that on the 31st day of March, 2017, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system which will send notification of such filing
to the attorneys on record:

/s/ Jonathan Raburn
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